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                                                                                            09/06/2019


                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF VIRGINIA
                                    Charlottesville Division

  ELIZABETH SINES et al.,                        )
       Plaintiffs,                               )      Civil Action No. 3:17-cv-00072
                                                 )
  v.                                             )      ORDER
                                                 )
  JASON KESSLER et al.,                          )      By:     Joel C. Hoppe
            Defendants.                          )              United States Magistrate Judge



         This matter is before the Court on Plaintiffs’ Motion for leave to depose non-party

  Thomas Ryan Rousseau as an authorized representative of Defendant Vanguard America. ECF

  No. 551. For the reasons stated in Plaintiffs’ motion, the motion is GRANTED. Thomas Ryan

  Rosseau is hereby ORDERED to appear and participate in good faith at a deposition by

  Plaintiffs’ counsel devoted exclusively to his and Vanguard America’s conduct in pretrial

  discovery, including their efforts to preserve any documents, information, or materials that are

  potentially relevant to this litigation. Plaintiffs are given leave to depose Mr. Rosseau in

  subsequent depositions on the merits of Plaintiffs’ allegations. See Fed. R. Civ. P.

  30(a)(2)(A)(ii).

         It is so ORDERED.

         The Clerk shall send a copy of this Order to the parties.

                                                        ENTER: September 6, 2019



                                                        Joel C. Hoppe
                                                        U.S. Magistrate Judge
